
      1
     A.P., Petitioner  v.  The People of the State of Colorado, Respondent  In the Interest of Minor Children: J.H., M.H., and S.H. No. 25SC79Supreme Court of Colorado, En BancMarch 17, 2025
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Court
      of Appeals Case No. 23CA611
    
    
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Petition
      for Writ of Certiorari DENIED.
    